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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

                   v.                        Crim. No. 17-201-1 (ABJ)
    PAUL J. MANAFORT, JR.,                   Filed Under Seal


                    Defendant.



                          GOVERNMENT’S SENTENCING MEMORANDUM

           The government submits this memorandum in connection with the sentencing of Paul J.

Manafort, Jr., scheduled for March 13, 2019, in connection with his guilty plea to two counts of

conspiracy in violation of 18 U.S.C. § 371. Consistent with the practice the Special Counsel’s

Office has followed, the government does not take a position with respect to a particular sentence

to be imposed. Instead, the government sets forth its assessment of the nature of the offenses and

offender and the applicable advisory sentencing guidelines and sentencing factors.1

           Based on his relevant sentencing conduct, Manafort presents many aggravating sentencing

factors and no warranted mitigating factors. Manafort committed an array of felonies for over a

decade, up through the fall of 2018. Manafort chose repeatedly and knowingly to violate the law—

whether the laws proscribed garden-variety crimes such as tax fraud, money laundering,

obstruction of justice, and bank fraud, or more esoteric laws that he nevertheless was intimately

familiar with, such as the Foreign Agents Registration Act (FARA). His criminal actions were

bold, some of which were committed while under a spotlight due to his work as the campaign

chairman and, later, while he was on bail from this Court. And the crimes he engaged in while on


1
    See 18 U.S.C. § 3553(a).
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bail were not minor; they went to the heart of the criminal justice system, namely, tampering with

witnesses so he would not be held accountable for his crimes. Even after he purportedly agreed to

cooperate with the government in September 2018, Manafort, as this court found, lied to the

Federal Bureau of Investigation (FBI), this office, and the grand jury. His deceit, which is a

fundamental component of the crimes of conviction and relevant conduct, extended to tax

preparers, bookkeepers, banks, the Treasury Department, the Department of Justice National

Security Division, the FBI, the Special Counsel’s Office, the grand jury, his own legal counsel,

Members of Congress, and members of the executive branch of the United States government. In

sum, upon release from jail, Manafort presents a grave risk of recidivism. Specific deterrence is

thus at its height, as is general deterrence of those who would engage in comparable concerted

criminal conduct. See United States v. Fry, 851 F.3d 1329, 1332 (D.C. Cir. 2017) (district court

correctly considered pertinent sentencing factors when it, among other things, “explained that the

sentence would deter Fry and others who may be inclined in doing similar kinds of things” (internal

quotations omitted)); United States v. Jackson, 848 F.3d 460, 466-67 (D.C. Cir. 2017) (citing 18

U.S.C. § 3553(a)(2)(B) & (C), the question for the sentencing court is whether the sentence is

“sufficiently stiff to deter [the defendant] and others from committing similar crimes in the

future.”); United States v. Foy, 617 F.3d 1029, 1037 (8th Cir. 2010) (general deterrence interest in

deterring “similarly situated persons.”)

       Nothing about Manafort’s upbringing, schooling, legal education, or family and financial

circumstances mitigates his criminality. Indeed, as part of his plea agreement, Manafort agreed

that, although he could dispute for instance the guideline calculation as to role in the offense, a




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downward departure from the government’s estimated sentencing guideline range of 210 to 262

months is not warranted and he would not seek or suggest a departure or adjustment.2

    The government has organized this submission as follows:

         I.       Procedural History

         II.      The Presentence Investigative Report (“PSR”)

         III.     Manafort’s Relevant Criminal Conduct And The Statutory Sentencing Factors
                  Under 18 U.S.C. § 3553(a):

                  (A)      Count One Conduct

                  (B)      Count Two Conduct

                  (C)      Post-Plea Conduct

Attached to this filing are the following:

        Attachment A: A copy of the superseding criminal information to which Manafort pled
         guilty on September 14, 2018 (Doc. 419);

        Attachment B: A copy of Manafort’s plea agreement (Doc. 422) and the Statement of the
         Offenses and Other Acts, dated September 14, 2018 (Doc. 423);

        Attachment C: A copy the superseding indictment charging Manafort in the Eastern
         District of Virginia (EDVA) on February 22, 2019, United States v. Manafort, 1:18-cr-83
         (Doc. 9);

        Attachment D: A copy of the verdict form from Manafort’s trial in the EDVA, United
         States v. Manafort, 1:18-cr-83 (Aug. 21, 2018) (Doc. 280);

        Attachment E: A copy of the government’s sentencing submission in the EDVA, United
         States v. Manafort, 1:18-cr-83 (Feb. 15, 2019) (Doc. 314);

        Attachment F: A copy of the government’s objections to the PSR (under seal); and

        Attachment G: A copy of additional documents cited herein, including the government’s
         proposed trial exhibits, which were previously provided to the Court and defense. (An
         index of these exhibits is included in Attachment G, in the front of that attachment.)


2
  Attachment B, section 4D. Manafort further agreed that a sentence within the 210 to 262 month range “would
constitute a reasonable sentence in light of all the factors set forth in 18 U.S.C. § 3553(a), should such a sentence be
subject to appellate review notwithstanding the appeal waiver provided below.” Id. at section 5.

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       I.      Procedural History

            The government details below the charges filed against Manafort in this Court and the

United States District Court for the EDVA, and his subsequent convictions, guilty pleas, and failed

cooperation.

               A. The District Of Columbia Indictment And Arrest

            A grand jury sitting in the District of Columbia indicted Manafort and his employee

Richard Gates on October 27, 2017, on eight counts.3 The charged conduct related to Manafort’s

work as an agent of the Government of Ukraine, the Party of Regions and Opposition Bloc, and

Ukrainian President Victor Yanukovych (collectively, “Ukraine”). For years, Manafort failed to

register under FARA and caused others to fail to register. Manafort also conspired to fail to report

both the income earned from his Ukraine engagement and the overseas accounts in which his funds

were maintained. He later concealed that work by making false statements to the United States

Department of Justice, specifically the FARA Unit of the National Security Division. Manafort

also engaged from 2006 to 2016 in a money laundering conspiracy, with multiple objects. Among

other things, his money laundering promoted his FARA crimes. The money laundering and tax

conspiracies related to the tens of millions from Ukraine, maintained in myriad overseas accounts

in Cyprus, St. Vincent and the Grenadines, and the United Kingdom, and transferred to the United

States to pay fees to companies that engaged in the FARA scheme, as well as to purchase personal

services, luxury items, real estate, and improvements to Manafort’s homes in Bridgehampton, New

York, and Palm Beach, Florida, among others.




3
    Indictment, Oct. 27, 2017 (Doc. 13).


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        Manafort was allowed to surrender to the FBI on these charges on Monday, October 30,

2017, and was released on bail subject to a series of conditions, including home confinement and

GPS monitoring.4

             B. Superseding Indictments In The District Of Columbia And Manafort’s Remand

        On February 23, 2018, the grand jury charged Manafort in a superseding indictment that

made several new allegations.5 Of note, it included an additional component of the FARA scheme

concerning the Hapsburg Group’s lobbying in the United States. As the Court is aware, those new

allegations led to Manafort and Konstantin Kilimnik promptly and repeatedly reaching out to two

witnesses in order to coach them to lie about the work that the Hapsburg Group performed in the

United States.6 On June 8, 2018, Manafort was charged with two additional crimes, along with

Kilimnik: attempt and conspiracy to obstruct justice based on their efforts to tamper with these

witnesses with respect to the FARA scheme.7 On June 15, 2018, after hearing from the parties,

this Court remanded Manafort based on his criminal conduct while on pretrial release.8 That

decision was affirmed on appeal.9

             C. The EDVA Indictment And Trial

        On February 22, 2018, a grand jury sitting in the EDVA returned a 32-count indictment

against Manafort. Manafort was charged in connection with two types of schemes: one involved


4
   Order, Oct. 30, 2017 (Doc. 9). Manafort was also subject to an Order with respect to certain pre-trial
communications. Order, November 8, 2017 (Doc. 38).
5
  The superseding indictment also narrowed the charges in one respect. The initial District of Columbia indictment
had charged Manafort with four enhanced foreign bank account reporting (FBAR) charges, as to which there was
venue in this district. (Indictment ¶¶ 42-43, Oct. 27, 2018 (Doc. 13)). The EDVA indictment included non-enhanced
FBAR charges (as to which there was no venue in the District of Columbia), and the enhanced FBAR charges in this
district were dropped as a matter of prosecutorial discretion. Attachment C (superseding indictment ¶¶ 55-56, United
States v. Manafort, 1:18-cr-83 (E.D. Va. Feb. 22, 2018) (Doc. 9)).
6
  Superseding indictment ¶¶ 30-31, Feb. 23, 2018 (Doc. 202); Order of Detention, June 15, 2018 (Doc. 328); Opinion,
United States v. Manafort, No. 1:18-3037, (D.C. Cir. July 31, 2018) (Doc. 1743190).
7
  Superseding indictment ¶¶ 48-51 (Doc. 318).
8
  Order, June 15, 2018 (Doc. 328).
9
  Opinion, United States v. Manafort, No. 18-3037 (D.C. Cir. July 31, 2018) (Doc. 1743190).


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tax and FBAR violations; a second involved multiple bank fraud and bank fraud conspiracies.

Specifically, Manafort was charged with: (a) filing false tax returns as to his income and the

existence of overseas accounts from 2010 to 2014 (Counts One through Five); (b) failing to file

FBARs in the years 2011 to 2014 (Counts Eleven through Fourteen); and (c) bank fraud and bank

fraud conspiracy (Counts Twenty-Four to Thirty-Two).10

         As with the facts supporting the tax conspiracy charge in the District of Columbia, the

substantive tax and FBAR charges related to millions in income earned in Ukraine. Additionally,

the indictment contained new allegations, charging Manafort in nine bank fraud and bank fraud

conspiracies, involving five loan applications to three separate financial institutions, seeking more

than $25 million. Four of these loan applications related to properties that Manafort purchased or

improved with funds from his overseas accounts.11

         Manafort elected to go to trial and on August 21, 2018, a jury convicted Manafort on eight

counts: tax (5), FBAR (1), and bank fraud (2). The jury was hung on the remaining ten counts.12

             D. Manafort’s Guilty Pleas In The District of Columbia

         On September 14, 2018, on the eve of his second trial and after the jury selection process

had commenced, Manafort pled guilty to a two-count superseding information pursuant to a plea

agreement requiring his cooperation. Attachment A. The charges encompassed all of the factual

allegations in the charges brought in this district. Count One charged Manafort with conspiracy


10
   Attachment C (superseding indictment, United States v. Manafort, 1:18-cr-83 (E.D. Va. Feb. 22, 2018) (Doc. 9)).
As the Court is aware, prior to pursuing charges in the EDVA, the Special Counsel’s Office asked counsel for Manafort
and Gates whether they would waive venue and allow the new charges to be added to the existing District of Columbia
indictment. Manafort, as was his right, declined to waive venue; Gates agreed to waive venue. In light of Manafort’s
decision, the government proceeded in the EDVA against both defendants. The crimes in the two districts are distinct;
in particular, the substantive tax and FBAR charges have separate elements from the conspiracy charges in this district.
See Witte v. United States, 515 U.S. 389 (1995).
11
   Attachment C (superseding indictment ¶¶ 28-44, United States v. Manafort, 1:18-cr-83 (E.D. Va. Feb. 22, 2018)
(Doc. 9)).
12
   Attachment D (jury verdict form, United States v. Manafort, 18-cr-83, (E.D. Va. Aug. 21, 2018) (Doc. 280)
(indicating on its verdict sheet that it voted eleven to one in favor of guilt on the remaining ten counts)).

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against the United States, pursuant to 18 U.S.C. § 371. The conspiracy has as its objects: tax fraud

(in violation of 26 U.S.C. § 7206(1)), FBAR crimes (in violation of 31 U.S.C. §§ 5312 and

5322(b)), a substantive FARA violation and making false statements to the Justice Department (in

violation of both FARA 22 U.S.C. §§ 612, 618(a)(1) and 618(a)(2) and 18 U.S.C. § 1001(a)), and

money laundering (in violation of 18 U.S.C. § 1956). Manafort’s conduct underlying this charge

was summarized in the Statement of the Offenses and Other Acts. During Manafort’s allocution,

he admitted that: he was part of a conspiracy that involved money laundering involving millions

of dollars of his income being wired from offshore accounts for goods, services, and real estate;

he concealed that income and the related purchases, and the offshore accounts themselves; he hid

millions of dollars of other income by falsely characterizing it as “loans”; he lied to his bookkeeper

and tax preparers both about the payments from overseas and the existence of the bank accounts

from which the money was transferred; he engaged in extensive lobbying activities in the United

States on behalf of Ukraine without registering for this work as required; he funneled over $11

million from overseas accounts to pay for lobbyists working for Ukraine to engage in unregistered

lobbying in the United States; and in submissions to the Department of Justice in November 2016

and February 2017, he caused false and misleading statements to be made relating to the lobbying

work for Ukraine.13

         Count Two charged a separate conspiracy to obstruct justice, concerning the tampering

with two witnesses who had pertinent evidence about the work of the Hapsburg Group and its

United States lobbying. Manafort pleaded guilty to conspiring with Kilimnik between February




13
  The plea agreement also contained admissions to Manafort’s criminal liability for the conduct at issue in the mistried
counts in the EDVA. Attachment B (Statement of the Offenses and Other Acts ¶¶ 47-54 (Doc. 423).


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23, 2018 and April 2018 to obstruct justice by reaching out to two witnesses to have them conform

their testimony to a false set of facts.14

II.     The PSR

        The government provided its objections to the PSR on February 14, 2018. A copy of that

submission is attached hereto in Attachment F, and is incorporated herein. (Because it relates to

the PSR, it is being filed under seal.) Because the government has not had the opportunity to

respond to Manafort’s submission to Probation, we note the following with respect to Manafort’s

objection                                                                . Manafort contends that




 Attachment A (superseding information ¶¶ 64-67 (Doc. 419)); Attachment B (Statement of the Offenses and Other
14

Acts ¶¶ 44-46 (Doc. 423)); Plea Hr’g Tr. 32:15 – 33:16, 34:17-20 (Doc. 424).

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   III.      Manafort’s Relevant Criminal Conduct And The Statutory Sentencing Factors
             Under 18 U.S.C. § 3553(a)

          Sentencing courts must consider the relevant section 3553(a) factors, which include: the

nature and circumstances of the offense; the history and characteristics of the defendant; the need

to promote respect for the law, provide a just punishment for the offense, and afford adequate

deterrence to criminal conduct; and the need to avoid unwarranted sentencing disparities. 18

U.S.C. § 3553(a). Below, the government sets forth facts pertinent to these factors.

          The government addresses each object of the Count One conspiracy and then addresses the

Count Two conspiracy and Manafort’s misconduct after his guilty pleas.

             A. Count One

                        1.      Count One: The FARA Object

      This section first discusses Manafort’s experience with the FARA statute. That history

serves to distinguish Manafort from those who are unaware or unsure of FARA’s parameters. It

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also exemplifies Manafort’s boldness in choosing to disobey the law, as he committed his FARA

violations after being warned by the Department of Justice about the law’s strictures and after

resigning a Presidential appointment in connection with the Department of Justice review. Next,

the three major prongs of Manafort’s United States lobbying scheme for Ukraine are discussed.

Finally, this section outlines Manafort’s violations involving lying to the Justice Department in

order to cover up his FARA crimes.

        From 2006 until 2015, Manafort led a multi-million dollar lobbying campaign in the

United States at the direction of Ukraine. Manafort did so without registering and providing the

public disclosures required by law. Such disclosures would have revealed to the United States

public, among other things, which United States government officials were being contacted by

Ukraine, when such lobbying occurred, how much was being spent on the lobbying effort, and

what public relations activities were undertaken by Ukraine (although appearing to emanate from

independent sources). Secrecy was integral to the effectiveness of the foreign lobbying Manafort

orchestrated for Ukraine to influence American leaders and the American public; compliance

with FARA would have revealed the deceptive tactics Manafort and his Ukraine client were

using to lobby in the United States. For instance, as set out in the Statement of the Offenses and

Other Acts, Manafort orchestrated a scheme to smear surreptitiously a former senior Obama

State Department official and then falsely blame the smear on an Obama rival, so that Ukraine

could curry favor with the Obama Administration. Manafort also used secrecy to mislead

Members of Congress, falsely using a Hapsburg member as a purported independent voice to

advocate with Congress, while concealing that he was a paid Ukraine lobbyist.15




15
  Attachment B (Statement of the Offenses and Other Acts ¶¶ 6-8, 12-13, and 22 (Doc. 423)); Plea Hr’g Tr. 17:19 –
19:20; 32:25 – 34:20 (Doc. 424).

                                                      10
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         As part of the lobbying scheme, Manafort hired numerous firms and people to assist in

his lobbying campaign in the United States. He hired

                                                FTI Consulting, Inc. (“FTI”),

                                    the Hapsburg Group members, and Skadden, Arps, Slate, Meagher

& Flom (“Skadden”), among others, to participate in what he described to President Yanukovych

in writing as a global “Engage Ukraine” lobbying campaign which he devised and led. Leaving

aside the money Manafort himself earned, these companies and law firm were paid the

equivalent of over $11 million for their Ukraine work over a two-year period.

                                    a. Manafort’s History With The FARA Statute

         Manafort had a lengthy history with the Department of Justice concerning the FARA

statute. These interactions arose in connection with Manafort’s lobbying in the mid-1980s when

he was a principal at the firm Black, Manafort, Stone, and Kelly Public Affairs Company

(“BMSK”). The Department of Justice inspected BMSK’s files and provided BMSK its findings

of deficiencies in both Manafort’s and other BMSK FARA filings.16

         In or about the summer and fall of 1986, the Department of Justice’s Criminal Division

(which then performed the functions now performed by the FARA Unit at the Department’s

National Security Division) conducted Section 5 inspections of Manafort and BMSK.

         Manafort’s position as both a lobbyist for foreign governments and a director of a federal

agency—the Overseas Private Investment Corporation (“OPIC”)—drew scrutiny from the

Department of Justice, the White House, and the press. Both then and now, public officials cannot


16
   Pursuant to 22 U.S.C. § 615, an agent of a foreign principal is required to maintain books and records with respect
to its activities, and to keep them “open at all reasonable times to the inspection of any official charged with the
enforcement” of FARA. By regulation, the Attorney General has authorized officials of the National Security Division
and the FBI to inspect those books and records. See 28 C.F.R. § 5.501. These inspections—named “Section 5”
inspections in light of their place in the FARA statute—can involve a review of, among other things, all
correspondence with foreign principals and those relating to a FARA registrant’s political activities, contracts,
financial records, and corporate documents.

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be agents of foreign principals, see 18 U.S.C. § 219, and the White House had determined that it

would not grant a certification under that statute to exempt Manafort from the law’s requirements.

         Manafort had registered as an agent of the Saudi Arabian government from in or about

June 1984 through June 1986.17 But Manafort did not register for other FARA work. Faced with

the White House’s decision not to grant him a waiver, Manafort contended to the Department of

Justice that he did not run afoul of section 219 because he had not personally lobbied. He claimed

that only his firm BMSK, and not he, had acted as a foreign agent. Manafort’s argument was

rejected by the Department of Justice. The language of section 219 mirrors FARA in applying to

anyone who “is or acts as an agent of a foreign principal required to register under [FARA],” 18

U.S.C. § 219(a). Even if there might be a theoretical case of “political consulting” that did not

involve any personal contacts or other public-relations and lobbying conduct covered by FARA,

Manafort’s public-relations and lobbying services were determined not to fall within that limited

type of consulting.18 Thus, Manafort had to either resign his political appointment, or would have


17
   See Attachment G (FARA Registration Statement, June 1, 1984, P. Manafort (exhibit 941); FARA Supplemental
Statement, July 3, 1985, P. Manafort (exhibit 945); FARA Registration Amendment, June 26, 1986, P. Manafort
(exhibit 949)).
18
   The Department’s position was applied to the facts it found during its inspection. The inspection found, among
other items, 18 lobbying and public-relations activities that were not reported by Manafort. These omissions included
lobbying by Manafort of Congress and the White House regarding a “Jerusalem Bill” and a “Saudi Arms package”,
dissemination of press articles to Congress, lobbying of the National Security Council, and talking points “for
telephone calls on Pending Saudi Munitions Sale.” The inspection also revealed that Manafort’s financial disclosure
to the FARA Unit failed to reflect accurately Manafort’s payments from the foreign principal. Attachment G (excerpt
of DOJ Section 5 Inspection File, Registration No. 3594, Paul J. Manafort, May 27, 1987, p. 3-4, 5-9).
          The Department’s inspection of Manafort yielded a May 29, 1987 letter to Manafort’s counsel cautioning
that “[p]olitical activities undertaken as background or to prepare for a proposal or a piece of legislation must be fully
disclosed even though the proposal may have been subsequently delayed, the legislation may not have been reported
out of Committee, etc.” Attachment G (May 29, 1987 letter to                        , p. 71 (exhibit 910)).
          The Department’s inspection of BMSK also revealed a number of deficiencies in BMSK’s filings for its work
on behalf of ten foreign principals. For example, the inspection report noted a November 1985 memorandum from
Manafort describing a media plan for the dissemination of material to the United States media on behalf of the
Bahamas. The inspection report found that BMSK’s FARA filings must disclose the activity. Similarly, the inspection
found a March 1986 memorandum from Manafort and others arranging for Bahamian officials to meet with United
States press, another memorandum from Manafort summarizing information that had been sent to United States
government officials “in both the Executive and Legislative branches”, and a March 1986 memorandum committing
to arrange meetings between Bahamian officials and congressional members during a visit to Washington D.C. The


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to cease all his activities on behalf of foreign principals. Manafort resigned his position as a

director of OPIC on May 16, 1986.19

       In spite of these clear warnings and the personal ramifications to him for not adhering to

the law, Manafort chose to violate the FARA statute and to get others to as well. For instance, in

2007 he retained a large American lobbying firm,                                                       to assist

in lobbying in Europe and the United States in connection with the Ukraine parliamentary

elections in the fall of 2007. When                  sought to register under FARA, Manafort urged

           not to do so.20 After the Ukraine 2007 elections were over and                       was no longer

working for Manafort and Ukraine, it belatedly registered in early 2008 under FARA.21

                                   b. Ukraine’s Lobbying Operation Through


        As he admitted as part of his plea, Manafort in 2005 began a lengthy relationship with

foreign government actors, particularly in Ukraine. In 2012, Manafort spearheaded a major

international lobbying operation for Ukraine, with a large focus on lobbying in the United States.

It had three main aspects, which are discussed in turn.

        First, Manafort retained the                                         , two large Washington, D.C.

lobbying firms, to engage from 2012 to 2014 in an extensive lobbying effort on behalf of Ukraine,

without registering under FARA. Manafort arranged to pay the firms over $2.5 million from

Ukraine funds funneled through his offshore accounts for the United States lobbying work for

Ukraine.     Those transfers also form the gravamen of one prong of the money laundering




inspection report explained that all this activity had to be disclosed under FARA. Attachment G (excerpt of DOJ
Section 5 Inspection File, Registration No. 3600, BMSK, p. 3, 8, 14 (exhibit 910)).
19
   Attachment G (excerpt of DOJ Section 5 Inspection File, Registration No. 3600, BMSK, p. 81 (exhibit 910)).
20
   Attachment G (            302, Aug. 10, 2018, at 1).
21
   Attachment G (Exhibits A and B to FARA Registration                              Jan. 23, 2008 (exhibit 1028)).


                                                       13
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conspiracy.22 Among other things, Manafort had the firms lobby dozens of Members of Congress,

their staff, and White House and State Department officials about Ukraine sanctions, the validity

of Ukraine elections, and the propriety of imprisoning Yulia Tymoshenko.

         One illustration of this aspect of the United States lobbying operation concerned its furtive

activity in connection with the United States Senate’s consideration of a resolution condemning

Ukraine for President Yanukovych’s locking up his political opponent Tymoshenko.                                  The

resolution was referred to as the Durbin resolution, after its main proponent United States Senator

Richard Durbin.23 The imprisonment of Tymoshenko was a major sticking point in United States-

Ukraine relations, as many in the executive and legislative branches thought her treatment

demonstrated a lack of commitment to the rule of law. Manafort and President Yanukovych

engaged in an all out effort to kill or at least delay the resolution. Thus, Manafort had his lobbying

firms contact numerous Members of Congress, engaging in backroom lobbying using personal

contacts and confidential Congressional information obtained secretly by                                         from

Congressional staff. A chart attached hereto in Attachment G, which was provided to the Court

and defense counsel in August 2018 as part of the Court’s pretrial Order regarding trial exhibits,

details the major aspects of this effort.24 None of this lobbying was reported under FARA, as

required, so the public would be aware of what efforts this foreign government was making with

Members of Congress and the Executive branch. The Durbin resolution is but one example of the

lobbying campaign; the government has outlined in Attachment G, Exhibit 448, the principal


22
   See Attachment G (chart, “Foreign Transfers to United States Accounts of Entities Performing Work in the United
States,” (exhibit 434)).
23
   Attachment G (email, Nov. 19, 2013,                   to R. Gates,             and           , Re Durbin Resolution,
p. 14 (exhibit 1937)). The resolution states, in part: “(4) expresses its concern and disappointment that the continued
selective and politically motivated imprisonment of former Prime Minister Yulia Tymoshenko unnecessarily detracts
from Ukraine’s otherwise strong relationship with Europe, the United States, and the community of democracies.”
24
   See Attachment G (chart, “Legislation: Durbin Resolution,” (exhibit 449) (outlining principal lobbying activities
regarding the Durbin resolution)).


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legislative outreach efforts between 2012 to 2014 orchestrated by Manafort through

                       .25

       Manafort was integrally involved in these lobbying efforts. He repeatedly communicated

in person and in writing with President Yanukovych and his staff about the lobbying activities of

                                      . He tasked the companies to prepare written reports on their

work so he, in turn, could brief President Yanukovych. For instance, Manafort wrote President

Yanukovych a memorandum dated April 8, 2012, in which he provided an update on the

lobbying firms’ activities “since the inception of the project a few weeks ago. It is my intention

to provide you with a weekly update moving forward.”26 In November 2012, Gates wrote to the

firms that they needed to prepare an assessment of their past and prospective lobbying efforts so

the “President” could be briefed by “Paul” “on what Ukraine has done well and what it can do

better as we move into 2013.” The resulting memorandum noted among other things that the

“client” had not been as successful as hoped given that it had an Embassy in Washington.27

       To appear to distance their United States lobbying work from Ukraine, and to avoid

having to register as agents of Ukraine under FARA, Manafort, with others, arranged for

                                  to be nominally engaged by a newly-formed Brussels entity called

the European Centre for a Modern Ukraine (the Centre), instead of directly by Ukraine.

Manafort privately described the Centre as “the Brussels NGO that we have formed” to

coordinate lobbying for Ukraine.28 The Centre was founded by a Ukraine Party of Regions




25
   Attachment G (exhibit 441 is an even broader chart, outlining by proposed trial exhibit number all government
relations activity orchestrated by Manafort reflected in proposed trial exhibits).
26
   Attachment G (memo, Apr. 8, 2012, PJM to VFY, “AC Project Update”, p. 2 (exhibit 569)).
27
   Attachment G (email, Nov. 29, 2012,              to R. Gates, Re Assessment, p. 2-4 (exhibit 1763)).
28
   Attachment G (memo, July 3, 2012, P. Manafort to                       , et. al., “Program to Conduct Briefings of
Embassies, Media and NGOs”, p. 3 (exhibit 505)).


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connection with what Manafort termed the selling of the report. This campaign included getting

the Skadden report seeded to the press in the United States—that is, to leak the report ahead of its

official release to a prominent United States newspaper and then use that initial article to influence

reporting globally.31

        A chart setting out a timeline of the major lobbying efforts orchestrated by Manafort to

lobby in connection with the Skadden Report is attached hereto as Exhibit 444 of Attachment G.

More than $4.6 million was paid to Skadden for its work. Manafort used one of his offshore

accounts to funnel $4 million of that sum. Manafort used the same offshore accounts to pay FTI

the equivalent of more than $1 million.32

        Manafort was aware of various facts that were kept from the public Skadden report,

because they would undermine the effectiveness of the report as a lobbying tool. For instance,

Manafort knew that the actual cost of the report and the true scope of the law firm’s work would

undermine the report’s being perceived as independent. Although FARA would have required

disclosure of the amount paid for the report (more than $4.6 million), Ukraine reported falsely that

the report cost just $12,000.33 Further, Manafort knew that the report did not disclose facts that

could be used to question Skadden’s impartiality, namely that Skadden, in addition to being

retained to write the report, was retained to represent Ukraine in connection with the Tymoshenko



31
   Attachment G (memo, Aug. 1, 2012, P. Manafort to                       , “SA Report – Media Plan” (exhibit 1307);
email, May 18, 2012,             to         , Re Ukraine – What we’ve been up to (exhibit 1351); Skadden Settlement
Agreement, Appendix p. 15-16, available at https://www.justice.gov/opa/press-release/file/1124381/download). See
also FARA Registration, Skadden, Arps, Slate, Meagher & Flom LLP, Jan. 18, 2019, available at
https://efile fara.gov/docs/6617-Registration-Statement-20190118-1.pdf
32
   Pursuant to 22 U.S.C. § 612(a)(5), an agent of a foreign principal is required to file a registration statement
including the nature and amount of contributions, income, money, or thing of value, if any, that the registrant has
received within the preceding sixty days from each such foreign principal, either as compensation or for
disbursement or otherwise, and the form and time of each such payment and from whom received. Joint Pretrial
Statement, (Doc. 389-393); see Attachment G (chart, “FARA Related Payments By Consultant,” p. 3 (exhibit 436)).
33
   Attachment G (email, June 22, 2012,                to                                    , Re FW: RAPSI.com: U.S.
attorneys in ECHR under Tymoshenko case cost Ukraine $12,5k (exhibit 1357)).


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case itself and to provide training to the trial team prosecuting Tymoshenko in another criminal

case.34

          Substantively, Manafort also knew the report was misleading. Manafort directed lobbyists

to tout the report as showing that President Yanukovych had not selectively prosecuted

Tymoshenko. But in November 2012—prior to the issuance of the report on December 13, 2012—

Manafort had been told privately in writing by Skadden’s lead partner that the evidence of

Tymoshenko’s criminal intent “is virtually non-existent” and that it was unclear even among legal

experts that Tymoshenko did not possess the power to engage in the conduct at issue in the Ukraine

criminal case. These facts were not disclosed to the public.35

                                   d. Ukraine’s Lobbying Operation Through The Hapsburg Group

          Starting in 2011, Manafort secretly retained                          and a group of four former

European heads of state and senior officials (including a former                     Chancellor,           Prime

Minister, and           President) to lobby in the United States and Europe on behalf of Ukraine. The

former politicians, called the Hapsburg Group, appeared to be solely providing their independent

assessments of the Government of Ukraine’s policies, when in fact they were paid by Ukraine.

Manafort explained in an “EYES ONLY” memorandum in or about June 2012 that his purpose

was to “assemble a small group of high-level European infuencial [sic] champions and politically

credible friends who can act informally and without any visible relationship with the Government

of Ukraine.”36



34
   Attachment G (memo, Apr. 5, 2012, G. Craig to V. Pshonka, “Projects and Plans” (exhibit 2012); email, Apr. 11,
2012, G. Craig to A. van der Zwaan, Re FW Tomorrow – Friday 4/6 (exhibit 2013); email, Aug. 9, 2012, C. Sloan to
G. Craig, Re Kyiv Post Editorial: Skadden Stink (exhibit 2069); email, Aug. 30, 2012, A. van der Zwaan to G. Craig,
M. Cowie, et. al., Re Project 2 (exhibit 2078); email, Aug. 30, 2012, G. Craig to M. Loucks, Re Project 2 (exhibit
2079)).
35
   Attachment G (email, Nov. 28, 2012, G. Craig to P. Manafort, Re Greg’s Memo, p. 3 (exhibit 2106)).
36
   Attachment G (memo, June 27, 2012, “CREATION OF A SUPER VIP GROUP…” (exhibit 504)).


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        In or about 2012 through 2014, Manafort directed more than the equivalent of $2.8 million

to be wired from at least four of his offshore accounts to secretly pay the Hapsburg Group.37 To

avoid European taxation, the contract with the Hapsburg Group falsely stated that none of its work

would take place in Europe.38 And, in or about 2012 through 2013, Manafort directed more than

the equivalent of $950,000 to be wired from at least three of his offshore accounts to the benefit

of              to secretly pay for its services, which entailed, among other things, interfacing with

the Hapsburg Group for Manafort.39

        All four Hapsburg Group members, at the direction and with the direct assistance of

Manafort, advocated positions favorable to Ukraine in meetings with United States lawmakers,

interviews with United States journalists, and ghostwritten op-eds in American publications. A

chart setting out the payments to the Hapsburg Group and a chart of the major lobbying efforts

conducted by Manafort, including efforts conducted through the Hapsburg Group, are attached

hereto as Exhibits 436 and 442, respectively.40

        One of the Hapsburg Group members, a former                   President, was also a representative

of the European Parliament with oversight responsibility for Ukraine. Manafort solicited that

official to secretly provide Manafort inside information about the European Parliament’s views

and potential actions toward Ukraine and to take actions favorable to Ukraine.41 Manafort also

used this Hapsburg Group member’s current European Parliament position to Ukraine’s advantage

in his lobbying efforts in the United States. As noted above, in the fall of 2012, the United States




37
   Attachment G (chart, “FARA Related Payments By Consultant,” p. 6 (exhibit 436)).
38
   Attachment G (email, Nov. 14, 2012, R. Gates to                     , Re Contract (exhibit 1237)).
39
   Attachment G (chart, “FARA Related Payments By Consultant,” p. 5 (exhibit 436)).
40
   Attachment G (chart, “FARA Related Payments By Consultant,” p. 6 (exhibit 436); Chart, “Public Relations
Activity,” p. 16, 21, 23, 24 , 27, 29, 31, 33, 35, and 36 (exhibit 442)).
41
   Attachment G (email, Sept. 28, 2012,                  to         , Re Fw: eyes only, p. 2-4 (exhibit 833)).


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Senate was considering and ultimately passed the Durbin resolution, which was critical of

President Yanukovych’s treatment of former Prime Minister Tymoshenko.42 As noted above,

Manafort engaged in an all-out campaign to try to kill or delay the passage of this resolution.

Manafort told his lobbyists to stress to the United States Senators that the former                    President

who was advocating against the resolution was currently a designated representative of the

President of the European Parliament in order to give extra clout to his supposedly independent

judgment against the proposed Senate resolution.43 Manafort never revealed to the American

public, as required by FARA, that this representative (and his other lobbyists) were paid by

Ukraine, thus violating a core purpose of the statute.

        In another example, on May 16, 2013, a                    member of the Hapsburg Group lobbied

in the United States for Ukraine. The Hapsburg Group member accompanied his country’s prime

minister to the Oval Office and met with the then-President and Vice President of the United States,

as well as senior United States officials in the executive and legislative branches. In written

communications sent to Manafort, the Hapsburg Group member reported that the Hapsburg Group

member delivered the desired message.44 FARA required Manafort to disclose such lobbying.

Again, he did not.

        In addition, with the assistance of                   Manafort personally lobbied in the United

States. He drafted and edited numerous ghostwritten op-eds for publication in United States

newspapers.45 He also personally met with a Member of Congress who was on a subcommittee




42
   Attachment G (chart, “Legislation: Durbin Resolution” (exhibit 449)).
43
   Attachment G (email, Sept. 19, 2012,               to R. Gates, P. Manafort,       , Re an urgent request ON IT
(exhibit 1308)).
44
   Attachment G (email, May 17, 2013,                to P. Manafort, Re DC notes (exhibit 852)).
45
   Attachment G (chart, “Public Relations Activity” (exhibit 442)).


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that had Ukraine within its purview in March 2013 in Washington, D.C.46 After the meeting,

Manafort prepared a report for President Yanukovych that the meeting “went well” and reported

a series of positive developments for Ukraine from the meeting.47

                                  e. Manafort’s Belated 2017 FARA Registration Statement

        In June 2017, Manafort filed a retroactive FARA registration statement for the period 2012

through 2014. That filing was plainly deficient. Manafort entirely omitted the United States

lobbying contacts noted above and in the attached charts, all money (receipts and disbursements)

related to the lobbying entities noted above, and a portion of the substantial compensation

Manafort received from Ukraine.48

                                  f. Manafort’s False Statements To The Department of Justice

        Manafort caused his attorney to submit two false and misleading letters to the Department

of Justice when it inquired about Manafort’s Ukraine work beginning in September 2016. The

government has already briefed to this Court and to the Chief Judge the facts concerning

Manafort’s misconduct.49 The government supplements the record with the chart attached as

Exhibit 438, which lists significant documents that Manafort had in his possession at the time that

he had his FARA attorney (unwittingly) falsely represent to the Department of Justice that he had

no documents concerning his Ukraine work because of a purported document retention policy.50




46
   Attachment G (Calendar Record, Mar. 19, 2013, “Dinner/Manafort,                           / reservation under
           Capitol Hill Club (exhibit 1486)).
47
   Attachment G (chart, “Outreach to Congressman                 (exhibit 443); Memo, Mar. 23, 2013, P. Manafort
to               , “US Consultants Activity – Weekly Update,” p. 2 (exhibit 695)).
48
   Attachment G (FARA Registration Statement, DMP International, LLC (Registration No. 6440), June 27, 2017
(exhibit 926)).
49
   Government’s Tr. Br. Regarding Effect of Memorandum Op. in In re Grand Jury Investigation, Sept. 10, 2018
(Doc. 407); Memorandum Opinion, In re Grand Jury Investigation, No. 17-mc-2336, 2017 WL 4898143 (D.D.C. Oct.
2, 2017).
50
   Attachment G (chart, “False and Misleading Foreign Agents Registration Act Statements in Counts 4 and 5,”
(exhibit 438)).


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                          2.       Count One: The Tax And FBAR Objects

        The government has set forth the facts pertinent to this aspect of Manafort’s crimes in a

submission made in the EDVA, attached herein.51 The government relies on and incorporates that

submission. The government notes that the FBAR crimes served to promote other crimes: the tax

conspiracy herein as well as the FARA violations.52

                          3.       Count One: The Money Laundering Object

       Manafort participated in a money laundering scheme with multiple objects.53 For purposes

of the money laundering object of Count One, it suffices to note that the money Manafort

transferred from outside the United States into the United States served to promote FARA crimes.

For instance, as evidenced by Exhibits 434 (attached as part of Attachment G), Manafort caused

millions of dollars to be spent to further the FARA scheme.

             B. Count Two: The Witness Tampering Conspiracy

       The government has set forth the facts pertinent to Count Two in its filing with respect to

bail, filed in June 2018,54 and more recently in the Statement of the Offenses and Other Acts.55

The Court is well acquainted with these facts; they are not repeated herein.56

       Manafort’s witness tampering is notable because it occurred after he had already sought to

obstruct the government’s FARA investigation by causing his lawyer to submit false statements to

the Department of Justice on a host of topics. Then, after indictment and while on pretrial release



51
   Attachment E (The Government’s Sentencing Memorandum, United States v. Manafort, 1:18-cr-83 (E.D. Va. Feb.
15, 2019) (Doc. 314)).
52
   Attachment G (chart, “Payments from Foreign Entities to Entities Performing Work in the United States” (chart
reflecting more that $11 million from undisclosed foreign bank accounts controlled by Manafort for payment to
companies that participated in lobbying in the United States for Ukraine under Manafort’s direction) (exhibit 437)).
53
   Memorandum Opinion and Order, June 22, 2018 (Doc. 333).
54
   Government’s Mot. To Revoke or Revise Def. Paul J. Manafort, Jr.’s Current Order of Pretrial Release, June 4,
2018 (Doc. 315).
55
   Attachment B (Statement of the Offenses and Other Acts (Doc. 423)).
56
   Order of Detention, June 15, 2018 (Doc. 328).

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from two courts, he again obstructed justice by repeatedly seeking to have witnesses lie for him,

and getting another (Kilimnik) to participate in that obstruction.

             C. Post-Plea Misconduct

        Manafort’s conduct after he pleaded guilty is pertinent to sentencing. It reflects a hardened

adherence to committing crimes and lack of remorse. As the Court is fully familiar with this proof,

we do not repeat the evidence herein.57

        Manafort voluntarily entered into a plea agreement that required that he cooperate “fully,

truthfully, completely, and forthrightly” with the government.58 The plea agreement further

provided that if the defendant failed “specifically to perform or to fulfill completely each and every

one” of his obligations under the agreement, or “engages in any criminal activity prior to

sentencing or during his cooperation,” the defendant will be in breach of the agreement.59 The

agreement further provided:

             [s]hould it be judged by the Government in its sole discretion that the defendant
             has failed to cooperate fully, has intentionally given false, misleading or
             incomplete information or testimony, has committed or attempted to commit
             any further crimes, or has otherwise violated any provision of this agreement,
             the defendant will not be released from his pleas of guilty, but the Government
             will be released from its obligations under this agreement, including (a) not to
             oppose a downward adjustment of two levels for acceptance of responsibility
             described above… and (b) to file the motion for a downward departure for
             cooperation described above. 60

A breach leaves intact all the obligations of the defendant as well as his guilty plea, but relieves

the government of its promises under the agreement.61

        The government relies on and incorporates herein its submissions on this issue.62


57
   Order, Feb. 13, 2019 (Doc. 509); Hr’g Tr., Feb. 13, 2019 (Doc. 514).
58
   Attachment B (Plea Agreement ¶ 8, Sept. 14, 2018 (Doc. 422)); Plea Hr’g Tr. at 39:10-17, 48:11-16, Sept. 14, 2018
(Doc. 424).
59
   Attachment B (Plea Agreement ¶ 13).
60
   Id. ¶ 13.
61
   Id. ¶¶ 4B, 8, & 13.
62
   Decl. in Support of the Government’s Breach Determination and Sentencing, Jan. 15, 2019 (Doc. 474).

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     Based on the evidence provided to the Court, the government is not filing a motion for a

reduction in sentence below the advisory Sentencing Guideline range or for a third point for

acceptance of responsibility. Manafort is not entitled to such a motion under the terms of the plea

agreement.63

     IV.      Conclusion

           For over a decade, Manafort repeatedly and brazenly violated the law. His crimes

continued up through the time he was first indicted in October 2017 and remarkably went

unabated even after indictment. Manafort engaged in witness tampering while on bail and, even

after he was caught for engaging in that scheme, Manafort committed the additional crimes of

perjury and making false statements after he entered his guilty pleas herein. The sentence in this

case must take into account the gravity of this conduct, and serve both to specifically deter

Manafort and generally deter those who would commit a similar series of crimes.

           The Court has the discretion to run all or a portion of the sentence herein consecutive to

that imposed in the EDVA criminal prosecution. As it is unknown what that sentence will be,

we do not now take a position on the issue, but reserve our right to do so at sentencing herein.64




63
   Hr’g Tr. at 13:13-16, Jan. 25, 2019 (Doc. 500). The superseding information to which Manafort pleaded guilty also
included that he forfeit “any property, real or personal, involved in [Count One], and any property traceable to such
property, and any property, real or personal, which constitutes or is derived from proceeds traceable to the offense…”
(Doc. 409 ¶ 68). The forfeiture allegation explained that the government would seek a money judgment of forfeiture
representing such property, to be offset by the forfeiture of specific property. Id. The United States intends to submit
a separate motion for entry of such a money judgment in an amount to be determined by agreement with the Defendant
or at a hearing to be conducted at the time of sentencing pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal
Procedure. Further, as set forth in the plea agreement, the parties agreed that mandatory restitution pursuant to 18
U.S.C. § 3663A does not apply. However, the Court has discretion to order restitution pursuant to 18 U.S.C. § 3663.
To implement an order of restitution this Court should require the Defendant to file corrected, accurate tax filings and
pay all taxes, penalties and interest due and owing.
64
   Under the advisory Sentencing Guidelines, courts are to structure the sentences on multiple counts of conviction to
reach the total punishment called for by the advisory guidelines. See U.S.S.G. § 5G1.2(d). The government submits
that that mode of analysis is applicable to the issue of whether the sentence should run concurrently or consecutively,
in whole or in part, to that imposed in the EDVA. See also id. § 5G1.3(d) and application note 4.

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                                       Attachment G - Index of Exhibits

Proposed Trial Exhibits

Exhibit No.     Description

    434         Chart, Foreign Transfers to United States Accounts of Entities Performing Work in the United
                States
    436         Chart, FARA Related Payments By Consultant
    437         Chart, Payments from Foreign Entities to Entities Performing Work in the United States
    438         Chart, False and Misleading Foreign Agents Registration Act Statements in Counts 4 and 5
    441         Chart, Government Relations Activity & Government Relations Activity: Paul Manafort
    442         Chart, Public Relations Activity
    443         Chart, Outreach to
    444         Chart, Skadden Report
    448         Chart, Legislation
    449         Chart, Legislation: Durbin Resolution
    504         Memo, June 27, 2012, “CREATION OF A SUPER VIP GROUP…”
    505         Memo, July 3, 2012, P. Manafort to                 , et. al., “Program to Conduct Briefings of
                Embassies, Media and NGOs”
    569         Memo, Apr. 8, 2012, PJM to VFY, “AC Project Update”
    695         Memo, Mar. 23, 2013, P. Manafort to S. Lyovochkin, “US Consultants Activity – Weekly
                Update”
    833         Email, Sept. 28, 2012,              to         , Re Fw: eyes only
    852         Email, May 17, 2013,               to P. Manafort, Re DC notes
    910         Excerpt of DOJ Section 5 Inspection File, Registration No. 3600 Black, Manafort, Stone and Kelly
                Public Affairs Company
    926         FARA Registration Statement, DMP International, LLC (Registration No. 6440), June 27,
                2017
     941        FARA Registration Statement, P. Manafort (Registration No. 3594), June 1, 1984
     945        FARA Supplemental Statement, P. Manafort (Registration No. 3594), July 3, 1985
     949        FARA Registration Amendment, P. Manafort (Registration No. 3594), June 26, 1986
    1028        Exhibits A and B to FARA Registration Statement;

    1237        Email, Nov. 14, 2012, R. Gates to                  , Re Contract
    1307        Memo, Aug. 1, 2012, P. Manafort to                    , “SA Report – Media Plan”
    1308        Email, Sept. 19, 2012,               to R. Gates, P. Manafort,          , Re an
                urgent request ON IT
    1349        Letter, May 4, 2012,            , “ECFMU”
    1351        Email, May 18, 2012,            to           , Re Ukraine – What we’ve been up to
    1357        Email, June 22, 2012,           to                                 , Re FW: RAPSI.com: U.S.
                attorneys in ECHR under Tymoshenko case cost Ukraine $12,5k
    1486        Calendar Record, Mar. 19, 2013, “Dinner/Manafort,                            / reservation under
                           Capitol Hill Club
    1608        Email, May 4, 2012,            to          , Re Send to Rick?
    1763        Email, Nov. 29, 2012,             to          , Re Assessment
    1937        Email, Nov. 19, 2013,                 to R. Gates,                            , Re Durbin
                Resolution
    2012        Memo, Apr. 5, 2012, G. Craig to V. Pshonka, “Projects and Plans”
    2013        Email, Apr. 11, 2012, G. Craig to A. van der Zwaan, Re FW Tomorrow – Friday 4/6
    2069        Email, Aug. 9, 2012, C. Sloan to G. Craig, Re Kyiv Post Editorial: Skadden Stink


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Exhibit No.     Description

    2078        Email, Aug. 30, 2012, A. van der Zwaan to G. Craig, M. Cowie, et. al., Re Project 2
    2079        Email, Aug. 30, 2012, G. Craig to M. Loucks, Re Project 2
    2106        Email, Nov. 28, 2012, G. Craig to P. Manafort, Re Greg’s Memo

Miscellaneous Exhibits

    Date        Description
May 27, 1987    Excerpt of DOJ Section 5 Inspection file, Registration No. 3594 Paul J. Manafort
Feb. 1, 2018    R. Gates 302
Aug. 10, 2018          302




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                EXHIBIT 434
                                                                                                  Case 1:17-cr-00201-ABJ Document 681 Filed 05/21/21 Page 29 of 59
                                                                Foreign Transfers to United States Accounts of Entities Performing Work in the United States

                                                                                                                                                                                                                 Country of
                                             Payee                                                            Date            Payer                          Originating Bank Account        Country of Origin   Destination       Amount
                                                                                                            8/2/2012          Bletilla Ventures Limited   Bank of Cyprus Account -0480            Cyprus             US        $       270,000 00
                                                                                                           10/10/2012         Bletilla Ventures Limited   Bank of Cyprus Account -0480            Cyprus             US        $        90,000 00
                                                                                                           11/16/2012         Bletilla Ventures Limited   Bank of Cyprus Account -0480            Cyprus             US        $       120,000 00
                                                                                                           11/20/2012         Bletilla Ventures Limited   Bank of Cyprus Account -0480            Cyprus             US        $       182,968 07
                                                                                                           12/21/2012         Bletilla Ventures Limited   Bank of Cyprus Account -0480            Cyprus             US        $        25,000 00
                                                                                                            3/15/2013         Bletilla Ventures Limited   Hellenic Bank Account -2501             Cyprus             US        $        90,000 00
                                                                                                            9/18/2013         Global Endeavour Inc        Loyal Bank Limited Account -1840         SVG*              US        $       135,937 37
                                                                                                           10/31/2013         Jeunet Ltd                  Loyal Bank Limited Account -4978         SVG*              US        $       167,689 40
                                                                                                            3/28/2014         Jeunet Ltd                  Loyal Bank Limited Account -4978         SVG*              US        $       135,639 65
                                                                                                            4/3/2014          Jeunet Ltd                  Loyal Bank Limited Account -4978         SVG*              US        $        82,979 93
                                             Total                                   Transfers                                                                                                                                 $     1,300,214.42


                                                                                                            5/30/2012         Bletilla Ventures Limited   Bank of Cyprus Account -0480            Cyprus             US        $       130,000 00
                                                                                                            8/2/2012          Bletilla Ventures Limited   Bank of Cyprus Account -0480            Cyprus             US        $       195,000 00
                                                                                                           10/10/2012         Bletilla Ventures Limited   Bank of Cyprus Account -0480            Cyprus             US        $       130,000 00
                                                                                                           11/16/2012         Bletilla Ventures Limited   Bank of Cyprus Account -0480            Cyprus             US        $        50,000 00
                                                                                                           12/21/2012         Bletilla Ventures Limited   Bank of Cyprus Account -0480            Cyprus             US        $        54,649 51
                                                                                                            3/15/2013         Bletilla Ventures Limited   Hellenic Bank Account -2501             Cyprus             US        $       150,000 00
                                                                                                            9/3/2013          Jeunet Ltd                  Loyal Bank Limited Account -4978         SVG*              US        $       175,857 51
                                                                                                           10/31/2013         Jeunet Ltd                  Loyal Bank Limited Account -4978         SVG*              US        $       195,857 51
                                                                                                            3/12/2014         Jeunet Ltd                  Loyal Bank Limited Account -4978         SVG*              US        $        26,891 78
                                                                                                            3/21/2014         Jeunet Ltd                  Loyal Bank Limited Account -4978         SVG*              US        $       138,026 00
                                                                                                            4/15/2014         Jeunet Ltd                  Loyal Bank Limited Account -4978         SVG*              US        $         4,728 81
                                                                                                            4/25/2014         Jeunet Ltd                  Loyal Bank Limited Account -4978         SVG*              US        $         4,739 23
                                             Total                       . Transfers                                                                                                                                           $     1,255,750.35


                                             Skadden, Arps, Slate, Meagher & Flom LLP                       4/19/2012         Black Sea View Limited      Bank of Cyprus Account -7412            Cyprus             US        $     2,000,000 00
                                                                                                            5/30/2012         Black Sea View Limited      Bank of Cyprus Account -7412            Cyprus             US        $     1,000,000 00
                                                                                                            7/13/2012         Black Sea View Limited      Bank of Cyprus Account -7412            Cyprus             US        $     1,000,000 00
                                             Total Skadden, Arps, Slate, Meagher & Flom LLP Transfers                                                                                                                          $     4,000,000.00


                                             Total Transfers                                                                                                                                                                   $    6,555,964.77
  U.S. v. MANAFORT, 1:17-cr-201 (A.B.J.)



                          GOVERNMENT
                            EXHIBIT
434




                                           *SVG - Saint Vincent and the Grenadines

                                           Refer to exhibits 93, 94, 106, 1561, 1968, and 2126 for supporting documentation
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                EXHIBIT 436
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                        Summary of Payments to FTI Consulting LLP

          Date                                Payer                       Country of Origin                   Amount
       5/30/2012          Black Sea View Limited                                  Cyprus             $                141,120.00
       6/22/2012          Black Sea View Limited                                  Cyprus             $                140,895.00
       7/13/2012          Black Sea View Limited                                  Cyprus             $                139,275.00
       8/16/2012          Black Sea View Limited                                  Cyprus             $                141,210.00
       9/17/2012          Black Sea View Limited                                  Cyprus             $                145,919.00 **
      10/17/2012          Black Sea View Limited                                  Cyprus             $                177,007.00 **
      11/20/2012          Black Sea View Limited                                  Cyprus             $                143,137.00 **
                                            Total Payments to FTI Consulting LLP: $                              1,028,563.00


**For purposes of this analysis, Euro transactions were converted to US Dollars on the date of the transaction per the foreign
bank records using historical daily exchange rates per https://www.oanda.com/currency/converter.
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                                                                                 Payments from Foreign Entities
                                                                        to Entities Performing Work in the United States

                                           Entity                                                                         Time Period                           Total Payments

                                           Skadden, Arps, Slate, Meagher & Flom LLP                             April 2012 - July 2012                     $                4,000,000.00
                                                                                                                September 2012 - April 2014                $                2,849,349.60
                                                                                                                August 2012 - April 2014                   $                1,300,214.42
                                                                                                                May 2012 - April 2014                      $                1,255,750.35
                                           FTI Consulting LLP*                                                  May 2012 - November 2012                   $                1,028,563.00
                                                                                                                December 2012 - August 2013                $                  965,923.50


                                           Total Payments                                                                                                  $           11,399,800.87


                                           *For purposes of this analysis, Euro transactions were converted to US Dollars on the date of the transaction per the foreign bank records
                                           using historical daily exchange rates per https://www.oanda.com/currency/converter.

                                           ^In 2011,                              using a British Virgin Islands company called                               ., entered into a 1.3 million
                                           Euro contract with                      ., a company incorporated in the Seychelles, for work performed in the United States and Europe. (See
                                           Exhibit 1048 for the contract). According to the contract,      requested payments from                      . be made to
                                                Swiss bank account. Financial records identifying the specific payments were not available.

                                           In 2012,     used a company called                                       to receive approximately $54,760 for work performed. In 2013,
                                           used a company called                                     to receive approximately $911,163 for work performed.
  U.S. v. MANAFORT, 1:17-cr-201 (A.B.J.)



                          GOVERNMENT
                            EXHIBIT
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                                            Public Relations Activity
             Proposed,
             Attemped,
             or                                                                              Manafort
Date         Completed   Company Lobbyist          Political Activity   Media Entity Exhibit Involvement
12/11/2012   Completed   Craig   Skadden           Outreach RE: Skadden New York     2108
                                                   Report               Times

12/11/2012   Completed   Craig        Skadden      Outreach RE: Skadden New York            2109
                                                   Report               Times




12/11/2012   Completed   Hawker       FTI          Outreach RE: Skadden New York            2110
                                                   Report               Times

12/11/2012   Completed   Craig        Skadden      Outreach RE: Skadden New York            2111
                                                   Report               Times

12/11/2012   Completed   Craig        Skadden      Outreach RE: Skadden New York            2112
                                                   Report               Times




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                                          Public Relations Activity
             Proposed,
             Attemped,
             or                                                                             Manafort
Date         Completed   Company Lobbyist         Political Activity   Media Entity Exhibit Involvement
12/12/2012   Completed   Craig   Skadden          Outreach RE: Skadden New York     2116
                                                  Report               Times




12/12/2012   Completed   Craig        Skadden     Outreach RE: Skadden     New York         2117
                                                  Report                   Times
12/12/2012   Completed   Craig        Skadden     Outreach RE: Skadden     New York         2118
                                                  Report                   Times




12/13/2012   Proposed    Craig        Skadden     Outreach RE: Skadden New York             1398
                                                  Report               Times

12/14/2012   Proposed                             Outreach RE: Skadden Bloomberg            1772
                                                  Report




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                                                 Skadden Report Rollout
             Proposed,
             Attempted,
             or
             Completed                                    Nature of
Date         (P, A, C)* Company      Political Activity   Document        Entity Contacted              Exhibit
6/1/2012;    P          FTI          Outreach             Memo            New York Times - Steven Lee   1354; 2059; 2062
7/2/2012;                                                                 Myers
7/18/2012



6/1/2012;    P         FTI; Gates    Outreach             Memo                                          1354; 2059; 1397
7/2/2012;
7/18/2012;
11/26/2012


7/2/2012     P         FTI           Outreach             Memo                                          2059




7/18/2012    P         FTI           Briefing/General     Strategy Memo US Media (5 outlets)            2062
                                     Outreach
7/27/2012;   P         FTI; Skadden Briefing/General      Strategy Memo US Media                        2065; 2066; 2074
7/28/2012;                          Outreach
8/27/2012




                                                                                                                           8 of 16
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MEMORANDUM

To:             SL
From:           PJM
Subject:        SA Report – Media Plan
Date:           August 1, 2012


The public release of the report prepared by the Skadden Arps (SA) law firm will provide a major
opportunity for the Government to re-set the agenda and demand a fresh appraisal of its position
regarding the trial and conviction of Yulia Tymoshenko. This document will address the global rollout
strategy for the SA legal report, and provide a detailed plan of actions.

This event will provide an opportunity for Ukraine to challenge the international (European/US) perception
that it is mounting selective political prosecutions that do not comply with international standards. It is
clear that much of the truth concerning the crimes committed by YT has been overlooked, and
misunderstood. The SA report conveys a direct and coherent account of the facts that will show the
international community that the judicial system in Ukraine worked in this case but that some elements
can be improved.

However, this moment presents equally significant challenges, in addressing the report’s likely criticism of
some procedural missteps and countering the onslaught of an extremely effective campaign being waged
by the Government’s opponents. It is inconceivable that the report will bring an end to heated debate; on
the contrary, it is most likely to provoke an intense effort by all interested parties to claim that the report
vindicates their position and a further phase of scrutiny by the international media and diplomatic
community.

The media plan for the SA report release is built with the following observations in mind:

   1. It is clear that most media reporting and misreporting, and misperceptions amongst the diplomatic
      and political communities, emanate from international wire service reports with Kiev-based
      correspondents.

   2. Inaccurate or incomplete reporting by the newswires is repeated without challenge or fact-
      checking by international media outlets. In fact, the international media will have difficulty
      accepting the conclusions of the Skadden report because their reporting , to date, has been
      siginificantly slanted towards the Tymoshenko positions. To now embrace the Skadden report
      would be to repudiate their previous reporting. This is highly unlikely to happen.

   3. There is no plan in place that ensures such inaccuracies are corrected.

   4. Media relations techniques in Ukraine follow the convention of news conferences rather than
      individual briefings. Showpiece news conferences take place after each legal event, and are often
      hijacked by some elected politicians interjecting into statements by prosecutors.

   5. The information about the case online has not been sufficiently available in English, and the media
      has to work too hard to find a position counter to the clearly communicated plan of YT.

   6. Certain elements of the media and YT's team will attempt to take the negative aspects of the trial
      procedures in which Western due process was not followed, and attempt to weave a headline from
                                                                                     GOVERNMENT
                                                                                       EXHIBIT
                                                                                  U.S. v. MANAFORT, 1:17-cr-201 (A.B.J.)
                                                                                                                           00213
                                                                                          1307
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        those negative points, while attempting to ignore the main tenent that she was tried and convicted
        fairly under Western standards.

Media Strategy and Plan

Based on current information, SA is expected to deliver its report the week of August 9th to the MoJ. The
communications strategy, outlined below, is subject to modification depending on the content of the final
SA report. However, we are proceeding with the following points in mind:

    •    The report was commissioned by the Ministry of Justice (MoJ) not the Office of Prosecutor
         General’s Office (OPG).
    •    The report will conclude that the trial was valid and that crimes were committed by YT, but that
         some irregularities existed in the process that are not in line with Western jurisprudence.
    •    It will present a more detailed analysis of the facts and evidence in the process than has previously
         been seen by the international community.
    •    The report will be in English and that version will represent the official record.
    •    The report will contain some criticism of the OPG and the Judge, based on the process and
         procedures of the trial, and these criticisms, will be exploited by our opponents.
    •    SA cannot proactively lead in communications, given their restrictions by FARA registration and
         disclosure.

In order to neutralize the inevitable attacks that will commence as soon as the report is released, and
optimize our control of the story, we need to be pro-active in reaching out to carefully chosen key
stakeholders. The approach would be as follows:

Report Release
    1. The final report (in English) will be delivered by SA to the MoJ the week of August 9th, and will carry
       the firm’s authoritative imprimatur; but the responsibility for publication and distribution rests
       with the MoJ.
    2. The full text of circa 180 pages, which includes an executive summary, will be published in
       Ukrainian (subject to translation by the MOJ) and English languages. The report will be further
       translated in Russian (at the direction of the MOJ). Only the English translation will be the
       responsibility of SA. SA will work with the MOJ to ensure the integrity of the translated versions of
       the report.
    3. The report will be released by the MoJ with a press statement by email distribution. The
       statement will be drafted by FTI and approved by the MoJ. The statement will accompany the
       report and distributed to key stakeholders, and placed on the Ministry’s website. In addition, the
       statement will be translated into multiple languages.
    4. Talking points and Q&A material will also be drafted by FTI for all key groups that will need
       messaging. It is imperative that complete discipline is assured in this process. There can be no
       mistakes with the release process, messaging, and the messengers so that the utmost credibility
       will be viewed with the process.
    5. In order to generate good will toward certain key stakeholders, a small number of individuals will
       be notified just prior to the release of the report by MoJ. This will include key members of the EU
       (Ashton, Fule, Cox, Kwasniewski), the EC, the USG, and foreign diplomats in Kyiv.
    6. In addition, a small number of international journalists should be briefed in advance of the
       publication of the report, under strict embargo, and formally contacted by the MoJ press team
       (with support from the AC team on behalf of the MoJ.



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   7. BM and FH will manage simultaneous distribution of the Report on the release date and send to
      key political stakeholders in Brussels, Berlin, London, Paris, Rome, and others. A list of the key
      stakeholders is attached (Attachment 1). This will include outreach to Ashton, Fule and Schulz, plus
      think tanks and interested NGOs. The Ukrainian embassy in Brussels will be asked to distribute
      information more widely to MEPs on the release date and the ECFMU will do similar
      disseminations. FTI will focus on the specialist legal writers, analysts and commentators.

Post Report Release
   8. GC will need to do briefings and interviews (group and one-on-ones) with key stakeholders in the
       Attachment, and as specified below. GC will not initiate these briefings but it will be done through
       FTI and the AC team in the key targeted cities.
   9. A private briefing with Greg Craig (GC) should be offered to Cox and Kwasniewski immediately
       following the release of the report. Depending on scheduling, this meeting should happen as soon
       as possible.
   10. A private briefing should also be offered to the Ukrainian Commissioner for Human Rights, a fluent
       English and German speaker.
   11. Special attention should be given to the German and Russian media in this distribution, as well as
       those journalists previously briefed by the First Deputy PG on his media tours in major European
       cities. Consideration should be given to GC visiting Moscow for one round table briefing with a
       group of leading correspondents covering Ukrainian matters from there. Similarly, he should do a
       roundtable in Berlin for interviews with a selection of the most influential commentators.
   12. The Prosecutor General will release a press statement immediately following publication of the SA
       report, welcoming the report and the analysis given its role and involvement as prosecutors in the
       trial process. FTI will draft the press statement and seek approval from the OPG.
   13. Both the MoJ and PG’s offices will receive many media enquiries and requests for comment.
       Responses by both teams of press officers must be carefully logged, tightly controlled and closely
       supervised. FTI will draft the messaging points for the MoJ and the OPG, and prep the press staffs
       of both departments for handling the media enquiries.
   14. Skadden will also receive a large number of media calls about the report and will be obliged to
       respond on the record. With the agreement of Skadden, the FTI team will manage the inbound
       flow of those calls.
   15. No Government entity should stage a news conference for the international media because it
       reduces our control and also because it is unlikely that international media outlets will send
       enough journalists to attend such a conference in Ukraine. Instead, we could field the PG / First
       Deputy PG and potentially other media trained senior Government Ministers for a small number of
       one-to-one interviews following the publication of the report.
   16. A domestic news conference is a possibility but the Kyiv-based foreign correspondents could not
       be excluded and control would still be a challenge. It would be preferred to do a small number of
       limited domestic interviews, carefully planned and managed.
   17. The President’s Administration should instruct the Ministry of Foreign Affairs to distribute a
       briefing pack to all foreign ambassadors based in Kyiv and all Ukrainian ambassadors in EU
       Member States, plus US and Russia. The pack should include the full Report, the talking points and
       the statements of both the MoJ and PG, with a covering note from the Minister of Justice and clear
       instruction to distribute the Report and statements to their respective stakeholder constituencies.
       It is essential that there should be no slippage in the timetable, ( i.e. this onward distribution must
       occur once the MoJ releases the its statement and report).




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Reactions and Responses
    18. The likely follow-on story will be that the opposition will try to use the report to mount a campaign
        calling for a re-trial. There will be substantial international pressure placed on the Government to
        act on the report. We have to be firm in the position that this report concludes that a crime was
        committed and that the weight of evidence would have secured a conviction under a Western-
        style system, irrespective of any minor procedural issues.
    19. All ambassadors and departments of Government must use the same message and stand firm that
        any politician in any country who behaved in this way would have been punished.
    20. FTI will draft message points for the Government on these subjects and take into account likely
        criticism levied by YT’s legal team, the Opposition, and other members of the international
        community.

Command Center
A Command Center must be established to ensure the absolute strictest discipline throughout this process.
The Command Center will disseminate talking points and act as the point-of-contact for any information
that is distributed by the Government. This includes the package of material that will go to foreign
embassies via the MFA, cover letters, interview requests, and all written and verbal responses.

The Center needs to have a dedicated set of resources including:
    • separate translators for multiple languages (Russian, Ukrainian, English, German and French)
    • writers to assist FTI and others in drafting the messaging
    • dedicated office with no access for outside parties – it must be a secure center
    • a lead person for the office needs to be selected to coordinate the activity of the Command Center
       and to address the actions by the MoJ, OPG and SA.

We are about a week to ten days away from the release of the final report. The plan and related actions
need to be implemented as soon as possible so that we are fully prepared to deal with the release of the
SA report. As soon as it is released, it will go viral and we need to make sure we are fully prepared to deal
with the impact from the international community. Once the report is released, a public perception war
will ensue, and her legal team and supporters, will do everything possible to undermine the credibility of
the SA report.

I need your approval of this plan to begin moving forward.




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